             CaseCase
                  1:24-mj-00885-DH
                      1:24-mj-00885-DH
                                     Document
                                        Document
                                              5 (Court
                                                  12 only)
                                                       Filed 12/18/24
                                                              Filed 12/13/24
                                                                        Page 30
                                                                              Page
                                                                                of 421 of 2


                                     UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

United States of America

v.                                                                          Criminal No.: AU:24-M -00885(1)

(1) Philip Taylor Sobash                                                    Date Appeared: December 13, 2024
     Defendant                                                              Time:          11:07AM-11:15AM (8 minutes)


                        PROCEEDING MEMO - INITIAL APPEARANCE
1. Indictment Filed                                  12/4/2024              Warrant Issued:                       12/4/2024
                                                        Date                                                          Date

     Arrested                                       12/13/2024              Agency:                                  FBI
                                                        Date                                                         Agency


2. COURT PERSONNEL:

          U.S. Magistrate Judge:          DUSTIN M. HOWELL
          Courtroom Deputy:               Samantha Landeros
          Pretrial Officer:
          Interpreter:
          Court Reporter:                 FTR Gold - ERO

3. APPEARANCES:

          AUSA:
          DEFT:

4. PROCEEDINGS:

     a.      Age              34            Education        11th grade                                         Gender           Male
     b.      Defendant understands proceedings and is mentally competent.                                                         Y
     c.      Defendant is informed of constitutional rights.                                                                      Y
     d.      Defendant understands charges.                                                                                       Y
     e.      If charged on complaint, Defendant informed of right to Preliminary Hearing.                                        N/A
     f.      Defendant informed of right to legal counsel.                                                                        Y
                     1) Defendant waives counsel.
                     2) Defendant states he/she will retain counsel.
                X 3) Defendant states he has retained:             Michael Connolly
                                                    Phone No.:
                     4) Defendant requests appointment of counsel.
                                     Defendant HAS NOT completed the CJA23 financial affidavit.
                                                  Court will appoint counsel in the interest of justice based on deft's verbal accounting
                                                  of his current financial status.
                                     Defendant HAS completed the CJA23 financial affidavit and the Court will appoint counsel
                                     because:
                                                 The defendant is indigent at this time.
                                                 Even though the defendant is not indigent, counsel will be appointed in the interests
                                                 of justice.
                                     The Court finds that the defendant is NOT eligible and denies request.



                 Case 3:24-cr-00217          Document 8-4           Filed 12/19/24          Page 1 of 2 PageID #: 43
                                                                                                                                            30
       CaseCase
            1:24-mj-00885-DH
                1:24-mj-00885-DH
                               Document
                                  Document
                                        5 (Court
                                            12 only)
                                                 Filed 12/18/24
                                                        Filed 12/13/24
                                                                  Page 31
                                                                        Page
                                                                          of 422 of 2



PROCEEDING MEMO - INITIAL APPEARANCE
In Re: (1) Philip Taylor Sobash
Page 2 of 2 Pages


  g.   PRE-TRIAL RELEASE:
         X 1) The Government makes                 oral     or      X written motion for detention under 18 USC 3142.
                Court sets detention hearing for       12/18/24 at 10:00 a.m.
            2) The Court sua sponte moves for detention. The detention hearing is set for
                                                                                 at
            3) The Defendant               is released         will be released on the following conditions:
                Bond is set at $

                   (Check the following that apply:)

                               unsecured                                      unsecured with 10% posted to the registery
                               cash or corporate                              additional sureties
                               3rd party custodian                            as set forth in the order setting conditions of release

  h.   Temporary Detention issued       12/23/2024             Arraignment set for      12/18/24 at 10:00 a.m.

  i.   REMOVAL PROCEEDINGS:
       The Defendant is advised of Rule 20 and Rule 5 rights and ....
             1) The Defendant waives Rule 5(c)(3)(D)(ii) and is detained pending removal to the
                                                                              . Detention hearing is to be held in that district.
             2) The Defendant waives Rule 5 and is released on bond. The Defendant is ordered to appear in the
                                                                                    on
                  or        when notified by the prosecuting district.
             3) The Defendant is              detained            released on bond and requests Rule 5(c)(3) hearing. The
                  Court sets hearing for

  j.   Other:   Oral Waiver of Identity Hearing.




        Case 3:24-cr-00217             Document 8-4           Filed 12/19/24          Page 2 of 2 PageID #: 44
                                                                                                                                        31
